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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF FLORIDA
                      PENSACOLA DIVISION

UNITED STATES OF AMERICA,

              Plaintiff,

v.                                          Case No. 3:21cr31/TKW

EUGENE HUELSMAN,

              Defendant.
______________________________/

                  DEFENDANT’S MOTION TO CONTINUE HIS
                   INITIAL APPEARANCE IN THIS DISTRICT
                               (UNOPPOSED)

       The defendant, EUGENE HUELSMAN, through his undersigned counsel

(counsel), moves to continue his initial appearance in this District until November 30,

2021, or after.

       Mr. Huelsman made his initial appearance in the United States District Court for

the Central District of California on Friday, October 22, 2021. An attorney from the

Office of the Federal Public Defender in Los Angeles was appointed for the limited

purpose of this initial appearance. Mr. Huelsman was released on conditions of release.

He respectfully requests a continuance of the initial appearance in this District presently

set for October 29, 2021, at 11:00 AM until a date on or after November 29, 2021, to

allow him time to locate and retain counsel to represent him in the Northern District

of Florida, and to arrange for travel to the District for his initial appearance. The
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government has no objection to this request.

       Under the Speedy Trial Act, specifically 18 U.S.C. §3161(c)(1), the 70 day period

for trial would not start until the defendant makes his initial appearance in this District

(the charging district).

       WHEREFORE, Mr. Huelsman moves to continue his initial appearance in this

District until November 30, 2021, or later.

                           LOCAL RULE 7.1(B) CERTIFICATE

       I HEREBY CERTIFY that I have conferred with Assistant U.S. Attorney David

Goldberg and he does not oppose this motion.

       RESPECTFULLY SUBMITTED this 27th day October 2021.


                                          /s/ Thomas S. Keith
                                          THOMAS S. KEITH
                                          Florida Bar No. 0243078
                                          Attorney for Defendant
                                          3 W. Garden Street, Suite 200
                                          Pensacola, FL 32502
                                          Thomas_Keith@fd.org
                                          (850) 432-1418




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